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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
NORTHERN DIVISION
UNITED STATES OF AMERICA
v. CRIMINAL NO. 3!aq-C2-/O0. ORIJ-~LGL

SHERIK MARVE SMITH

NOTICE OF MAXIMUM PENALTY

Conspiracy to Commit Bribery
18 U.S.C. § 371

Not more than five (5) years of imprisonment
Not more than a $250,000 fine

Not more than three (3) years supervised release
$100 special assessment
